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                                                                                    9   PINKBERRY, INC.
                                                                                   10
                                                                                                                  UNITED STATES DISTRICT COURT
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                                                                                   11
                                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                   12
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                                                                                   13   PINKBERRY, INC., a California              Case No. CV 08-05926 R (RZx)
                                                                                        corporation,
                                                                                   14                                              The Honorable Judge Manuel L. Real
                                                                                                            Plaintiff,
                                                                                   15                                              [PROPOSED] CONSENT
                                                                                              vs.                                  JUDGMENT AND PERMANENT
                                                                                   16                                              INJUNCTION
                                                                                        PINGO FOODS CORPORATION, d/b/a.
                                                                                   17   PINGO YOGURT, a California
                                                                                        corporation,
                                                                                   18
                                                                                                            Defendant.
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                                                                                    1         Pursuant to the parties’ stipulation, and good cause appearing, IT IS HEREBY
                                                                                    2   ORDERED that final judgment be and hereby is entered as follows:
                                                                                    3         1.     Pinkberry owns all rights in and to the United States Trademark
                                                                                    4   Registration for the following marks (collectively, “PINKBERRY Marks”), each of
                                                                                    5   which is valid and subsisting:
                                                                                    6     TRADEMARK             REG. NO.      ISSUE DATE          GOODS AND SERVICES
                                                                                    7     PINKBERRY             3,302,143     October 2, 2007     Frozen yogurt; frozen
                                                                                                                                                  yogurt based dessert,
                                                                                    8                                                             combined with fruit, nuts,
                                                                                                                                                  cereal and shaved ice and
                                                                                    9                                                             rice cakes; and smoothies
                                                                                   10     PINKBERRY             3,460,697     July 8, 2008        Restaurant services;
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                                                                                                                                                  restaurants; take-out
                                                                                   11                                                             restaurant services, café-
                                                                                                                                                  restaurants; fast-food
                                                                                   12                                                             restaurants
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                                                                                   13     Stylized Leaf and     3,461,027     July 8, 2008        Express restaurant services,
                                                                                          Berry Swirl                                             food kiosk services, and
                                                                                   14     Design                                                  carry-out restaurant
                                                                                                                                                  services featuring frozen
                                                                                   15                                                             yogurt-based desserts,
                                                                                                                                                  frozen dairy desserts,
                                                                                   16                                                             smoothies and shaved ice
                                                                                   17     PINKBERRY &           3,460,702     July 8, 2008        Restaurant services;
                                                                                          Stylized Leaf and                                       restaurants; take-out
                                                                                   18     Berry Swirl                                             restaurant services; café-
                                                                                          Design                                                  restaurants; fast-food
                                                                                   19                                                             restaurants
                                                                                   20
                                                                                   21         2.     The PINKBERRY Marks are coined, arbitrary and famous marks that are
                                                                                   22   entitled to broad protection.
                                                                                   23         3.     In addition, Pinkberry restaurants have been characterized by a unique
                                                                                   24   and inherently distinctive trade dress which has been used to identify them and to
                                                                                   25   identify Pinkberry as their source. The Pinkberry storefront signage is green with pink
                                                                                   26   accents, with metal blue and green awnings on the storefront. The restaurants’ interior
                                                                                   27   presents a contemporary and refreshing café-style environment that is painted in pastel
                                                                                   28   colors, such as peach, green and blue, with green circles on the glass and counter. The

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                                                                                    1   minimalist décor showcases unique and distinctive non-functional design elements
                                                                                    2   that include, among other things, glass walls, pebble stone flooring and modern
                                                                                    3   designer furniture, such as white tables, modern colored plastic chairs, slatted natural
                                                                                    4   wooden benches and modern hanging lamps (e.g., Le Klint pendant lights). The
                                                                                    5   counter layout includes a minimalist food preparation area that is behind open, glass-
                                                                                    6   plated countertops with uniform trays of toppings. These unique design features and
                                                                                    7   characteristics, taken as a whole, create an inherently distinctive and non-functional
                                                                                    8   trade dress (the “PINKBERRY Trade Dress”)
                                                                                    9         4.     Pingo has used the Pingo mark and logo depicted in Exhibit A attached
                                                                                   10   hereto (the “PINGO Marks”) and operated café-style restaurants in which it sells the
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                                                                                   11   same or similar products as Pinkberry and operated café-style restaurants in which it
                                                                                   12   sells the same or similar products as Pinkberry under a colorable imitation of the
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                                                                                   13   distinctive PINKBERRY Trade Dress.
                                                                                   14         4.     On or about September 10, 2008, Pinkberry commenced an action for
                                                                                   15   damages and equitable relief in the United States District Court for the Central District
                                                                                   16   of California against Defendant, entitled Pinkberry, Inc. v. Pingo Foods, Corp. d/b/a
                                                                                   17   Pingo Yogurt, CV 08-05926 R (RZx), asserting claims for federal trademark dilution,
                                                                                   18   federal trademark infringement, federal false designation of origin, California unfair
                                                                                   19   competition, injury to business reputation, and unjust enrichment (the “Action”).
                                                                                   20         5.     Defendant has admitted that its trade dress is a colorable imitation of the
                                                                                   21   distinctive PINKBERRY Trade Dress. Among other things, Pingo’s non-functional
                                                                                   22   design elements of the PINKBERRY Trade Dress includes pastel colors of peach,
                                                                                   23   green and blue, green circles on glass walls and front door, glass walls, pebble floors,
                                                                                   24   modern designer furniture (including white tables, modern colored plastic chairs, and
                                                                                   25   modern hanging lamps) and a food preparation area that is behind open, glass-plated
                                                                                   26   countertops with uniform trays of toppings (collectively, the “PINGO Trade Dress”).
                                                                                   27   See true and correct copies of photographs of the PINGO Trade Dress, attached hereto
                                                                                   28   as Exhibit B.

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                                                                                    1           6.    Defendant has represented to Pinkberry that it will, among other things:
                                                                                    2   (1) remove/replace the color of the orange wall and orange glass wall, the colored
                                                                                    3   plastic chairs, all green and blue circles from its current stores by midnight on
                                                                                    4   November 30, 2008; and (2) cease and desist from using elements of the PINGO
                                                                                    5   Trade Dress, the PINKBERRY Marks and the PINKBERRY Trade Dress in and on
                                                                                    6   all of its future store designs, signage, decoration, layout, uniforms, cups, menus,
                                                                                    7   napkins, banners, advertisements, Internet websites, coupons and any other
                                                                                    8   promotional materials. To that end, the parties have entered into a Settlement
                                                                                    9   Agreement containing the full terms and conditions of their settlement.
                                                                                   10           7.    Pursuant to the Settlement Agreement containing the full terms and
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                                                                                   11   conditions of their settlement, Defendant has consented to a Permanent Injunction and
                                                                                   12   Consent Judgment as follows:
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                                                                                   13           A.    Permanent Injunction
                                                                                   14           Defendant, its subsidiaries, affiliates, agents, servants, employees, attorneys,
                                                                                   15   representatives, successors and assigns, and all persons, firms or corporations in active
                                                                                   16   concert or participation with Defendant, shall be permanently restrained and enjoined
                                                                                   17   from:
                                                                                   18           (1)   Using any trade name or mark that includes the word “BERRY” in
                                                                                   19   connection with the sale, distribution or promotion of any goods or services, including
                                                                                   20   on or with Defendant’s signage, uniforms, cups, napkins, decor, menus, banners,
                                                                                   21   advertisements, Internet websites, coupons and any other promotional materials,
                                                                                   22   except that Defendant may make limited use of the word “berry” in a non-trademark
                                                                                   23   or descriptive fashion to describe berry flavors, ingredients or toppings for its
                                                                                   24   products;
                                                                                   25           (2)   Using any mark or logo that consists of a “swirl” or “swirl-like” design in
                                                                                   26   connection with the sale, distribution or promotion of any goods or services, including
                                                                                   27   on or with Defendant’s signage, uniforms, cups, napkins, decor, menus, banners,
                                                                                   28   advertisements, Internet websites, coupons and any other promotional materials;

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                                                                                    1         (3)    Using elements of the PINKBERRY Trade Dress that is likely to
                                                                                    2   confuse, mislead or deceive consumers or members of the public that Defendant’s
                                                                                    3   actions, sales, services, and/or products are sponsored by, approved by, licensed by, or
                                                                                    4   connected or otherwise affiliated with Pinkberry or its subsidiaries;
                                                                                    5         (5)    Engaging in any conduct that tends falsely to represent, or is likely to
                                                                                    6   confuse, mislead or deceive consumers or members of the public that Defendant’s
                                                                                    7   actions, sales, services, and/or products are sponsored by, approved by, licensed by, or
                                                                                    8   connected or otherwise affiliated with Pinkberry or its subsidiaries; and
                                                                                    9         (6)    Diluting, blurring or tarnishing the distinctive and famous nature of
                                                                                   10   Pinkberry’s name and the PINKBERRY Marks.
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                                                                                   11         B.     Compliance with Injunction Order
                                                                                   12         Defendant shall provide proof of compliance with the permanent injunction
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                                                                                   13   order in the form of photographs and a compliance statement. Such proof shall be
                                                                                   14   delivered to Pinkberry’s counsel of record every six months for a period of eighteen
                                                                                   15   (18) months from the date of entry of this Judgment.
                                                                                   16         C.     Destruction of Infringing Materials
                                                                                   17         Within thirty (30) days of entry of judgment for Pinkberry, Defendant, its
                                                                                   18   subsidiaries, affiliates, agents, servants, employees, attorneys, representatives,
                                                                                   19   successors and assigns, and all persons, firms or corporations in active concert or
                                                                                   20   participation with Defendant, shall deliver up for destruction to Pinkberry:
                                                                                   21         (1)    Any and all goods, apparel, merchandise, products, labels, signs,
                                                                                   22   packaging wrappers, containers, advertising or promotional materials, letterhead,
                                                                                   23   business cards, and any other writing materials used in its business, which display,
                                                                                   24   reproduce, consists, or bear the PINGO Trade Dress;
                                                                                   25         (2)    Any screens, designs, blueprints, drafts, patterns, plates or negatives used
                                                                                   26   specifically in connection with the PINGO Trade Dress, emblems, symbols, names,
                                                                                   27   designations, terminology; and
                                                                                   28         (3)    Any and all goods, apparel, merchandise, products, labels, signs,

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                                                                                    1   packaging wrappers, containers, advertising or promotional materials, letterhead,
                                                                                    2   business cards, and any other writing materials used in its business, which falsely
                                                                                    3   display, reproduce, copy, counterfeit, imitate or bear the PINKBERRY Marks and
                                                                                    4   Trade Dress, photographs, artworks, or any simulation or variant thereof.
                                                                                    5         D.      Violation of Injunction
                                                                                    6         Violation of this Consent Judgment and Permanent Injunction shall subject
                                                                                    7   Defendant to contempt and any remedy available at law or equity, including, but not
                                                                                    8   limited to, injunctive relief, monetary damages and the award of reasonable attorneys’
                                                                                    9   fees and costs in enforcing this injunction.
                                                                                   10         E.      Jurisdiction
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                                                                                   11         This Court shall retain jurisdiction over any enforcement action of this
                                                                                   12   injunction.
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                                                                                   13         F.      Judgment
                                                                                   14         Judgment on all claims and causes of action shall be, and is hereby, entered in
                                                                                   15   favor of Plaintiff Pinkberry, Inc. accordingly. Except as provided for in the
                                                                                   16   Settlement Agreement, each side is to bear its own attorneys’ fees, costs and expenses.
                                                                                   17         IT IS SO ORDERED.
                                                                                   18
                                                                                   19         DATED: Oct. 31, 2008
                                                                                   20                                           ________________________________
                                                                                                                                MANUEL L. REAL
                                                                                   21                                           United States District Court Judge
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